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9                             UNITED STATES DISTRICT COURT

10                           CENTRAL DISTRICT OF CALIFORNIA

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     JESSIKA TSENG, individually and              Case No.: 11-08471 CAS (MRWx)
14   on behalf of all other current and former
15   similarly-situated employees (as a           [PROPOSED] ORDER APPROVING
     representative action),                      PAGA SETTLEMENT
16
                Plaintiff,
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          vs.
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     NORDSTROM, INC., and Does 1
20   through 50, inclusive
21              Defendants
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                             [PROPOSED] ORDER APPROVING PAGA SETTLEMENT
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1                       ORDER GRANTING APPROVAL OF SETTLEMENT
2          This matter having come before the Court on Plaintiff’s Motion for Approval of
3    Settlement, and determining that the Settlement is fair, adequate, reasonable, and
4    otherwise being fully informed and good cause appearing therefor, it is hereby
5    ORDERED, ADJUDGED, AND DECREED AS FOLLOWS:
6          1.      This Order incorporates the Stipulation of Settlement. Unless otherwise
7    provided herein, all capitalized terms used herein shall have the same meaning as
8    defined in the Stipulation of Settlement. The Court has jurisdiction over the subject
9    matter of this lawsuit and all matters relating thereto, and over all parties to the lawsuit.
10         2.      The Court finds that the Settlement has been reached as a result of serious
11   and non-collusive, arm’s-length negotiations. The Court has considered the nature of the
12   claims, the amounts to be paid in settlement, the allocation of settlement proceeds
13   among the Affected Employees and the fact that a settlement represents a compromise of
14   the Parties’ respective positions rather than the result of a finding of liability at trial.
15   The Court hereby finds the Settlement involves the resolution of a bona fide dispute, was
16   entered into in good faith, and is fair, reasonable, and adequate. The Court therefore
17   approves the Settlement as set forth in the Stipulation of Settlement and directs the
18   Parties to effectuate the Settlement according to the terms outlined in the Stipulation of
19   Settlement.
20         3.      As of the date of this Order, the Plaintiff and Affected Employees shall be
21   bound by the Releases set forth in the Stipulation of Settlement. Except as to such rights
22   or claims that may be created by the Settlement, Plaintiff and all Affected Employees
23   fully release any and all claims that were asserted in the Action or that could have been
24   asserted based on the facts alleged in the action, including but not limited to, claims for
25   alleged failure to provide suitable seating under Section 14 of the applicable Wage Order
26   from September 9, 2010 through the date of this Order.
27         4.      Neither the Settlement nor any of the terms set forth in the Stipulation of
28   Settlement are admissions by Defendant, or any of the other Released Parties, of liability

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1    on any of the allegations alleged in the Action, nor is this Order a finding of the validity
2    of any claims in the Action, or of any wrongdoing by the Defendant, or any of the other
3    Released Parties.
4          5.      The Court finds that PAGA Counsel has adequately represented the
5    Plaintiff and Affected Employees for purposes of entering into and implementing the
6    Settlement.
7          6.      Pursuant to the terms of the Settlement, the PAGA Payment of
8    $487,500.00, to be allocated as follows, is hereby granted. Seventy-five (75%) percent
9    of the PAGA Payment, or $365,625.00 will be paid to the LWDA. The remaining
10   twenty-five percent (25%) of the PAGA Payment, or $121,875.00, will be distributed to
11   the Affected Employees.
12         7.      Pursuant to the terms of the Settlement, a Fee and Cost Award in the total
13   amount of $497,500 ($409,051.32 to fees and $88,448.68 to costs) as final payment for
14   and complete satisfaction of any and all attorneys’ fees and expenses incurred by and/or
15   owed to PAGA Counsel is hereby granted. The Court finds that the approved amount of
16   PAGA Counsel’s request falls within the range of reasonableness and that the result
17   achieved justifies the award. The Court finds it appropriate to use lodestar method under
18   the present circumstances, see Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029 (9th Cir.
19   1998), and that the lodestar method supports PAGA Counsel’s requested attorneys’ fees.
20   PAGA Counsel submitted a billing summary reflecting that PAGA Counsel’s lodestar
21   totals in excess of $1,910,148. The requested fee award of $409,051.32 is accordingly
22   only 21% of the lodestar incurred.
23         Further, the Court finds that PAGA Counsel’s hourly rates are reasonable given
24   their experience, expertise, and the prevailing rates for attorneys performing similar
25   work. Under the lodestar method, courts should apply rates commensurate with hourly
26   rates for lawyers of “reasonably comparable skill, experience and reputation.” Camacho
27   v. Bridgeport Financial, Inc., 523 F.3d 973, 979 (9th Cir. 2008). The “relevant
28   community” for the purposes of determining the reasonable hourly rate is the district in

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1    which the lawsuit proceeds. Barjon v. Dalton, 132 F.3d 496, 500 (9th Cir. 1997). The
2    attorneys who contributed work to this case are experienced in complex class action
3    litigation and regularly litigate cases in California federal and state courts. Collectively,
4    the partners managing the litigation have an extensive history of successfully litigating
5    complex representative and class action cases. The Court therefore finds that PAGA
6    Counsel’s hourly rates are reasonable, comparable to those of other class action
7    attorneys with similar experience and years of practice, and within the range of those
8    found to be permissible for attorneys practicing complex and class action litigation in the
9    Central District/Los Angeles area market.
10         Further, the hours recorded by PAGA Counsel are reasonable. PAGA Counsel has
11   spent over 3704.64 hours litigating this case to date. The summaries set forth in the
12   Tindall Declaration describe the work performed by PAGA Counsel, which includes
13   substantial pre-filing investigation, drafting multiple complaints, propounding discovery,
14   preparing initial disclosures, reviewing thousands of documents, engaging in a detailed
15   data analysis, taking and defending dozens of depositions, briefing and arguing class
16   certification, summary judgment and multiple motions for judgment on the pleadings,
17   preparing for and attending multiple mediations, negotiating the settlement, and other
18   tasks necessary to this litigation. The Court accordingly finds that the hours recorded by
19   PAGA Counsel were reasonable and necessary to the litigation of the case.
20         In sum, given the substantial work performed by PAGA Counsel over more than
21   six years of investigation and litigation, the requested fee award is objectively
22   reasonable under the lodestar method of calculation.
23         The Court finds further that the request for $88,448.68 in litigation expenses is
24   reasonable. PAGA Counsel has submitted a declaration indicating that the requested
25   costs here are recoverable because they are both relevant to the litigation and reasonable
26   in amount. Since the outset of this litigation, PAGA Counsel has incurred unreimbursed
27   costs prosecuting this case on behalf of the Class, including costs for depositions, expert
28   witnesses, and travel for depositions and hearings. PAGA Counsel put forward these

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1    out-of-pocket costs without assurance that they would be repaid.         These litigation
2    expenses were necessary to secure the resolution of this litigation.
3          Accordingly, the Court approves Plaintiffs’ request for attorneys’ fees and costs in
4    the amount of $497,500.00.
5          The payment of the Fee and Cost Award to PAGA Counsel shall be made in
6    accordance with the terms of the Stipulation of Settlement.
7          8.     Pursuant to the terms of the Settlement, the Court finds that a $10,000
8    service award for the named Plaintiff is reasonable and appropriate. Ms. Tseng
9    submitted a declaration detailing the ways in which she assisted PAGA Counsel in the
10   litigation of this case, and the award is appropriate in light of the stated purpose of
11   PAGA.
12         9.     Defendant shall not be required to pay any additional amounts in
13   connection with the Settlement other than those amounts specifically set forth in the
14   Stipulation of Settlement however, pursuant to the Settlement, Defendant shall pay the
15   costs of Settlement Administration separately and in addition to the Total Settlement
16   Amount.
17         10.    With respect to Plaintiff, any and all disputes and claims alleged in the
18   Action and any and all claims released in the Stipulation of Settlement, including the
19   claims in the Action and any other Released Claims as set forth in paragraphs 37 and 39
20   of the Stipulation of Settlement, are hereby dismissed with prejudice.
21         11.    The terms of the Stipulation of Settlement, and this Order and Judgment are
22   binding on the Plaintiff and the Affected Employees, as well as their heirs, executors and
23   administrators, successors, and assigns, and those terms shall have res judicata and other
24   preclusive effect in all pending and future claims, lawsuits or other proceedings
25   maintained by or on behalf of any such persons, to the extent those claims, lawsuits or
26   other proceedings constitute Released Claims as set forth in the Settlement Agreement.
27         12.    Neither this Order nor the Settlement Agreement (nor any other document
28   referred to herein, nor any action taken to carry out this Final Order) is, may be

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1    construed as, or may be used as, an admission or concession by or against Defendants or
2    the Released Parties of the validity of any claim or actual or potential fault, wrongdoing
3    or liability.    Entering into or carrying out the Settlement Agreement, and any
4    negotiations or proceedings relate to it, shall not be construed as, or deemed evidence of,
5    an admission or concession as to Defendant’s denials or defenses and shall not be
6    offered or received in evidence in any action or proceeding against any party hereto in
7    any court, administrative agency or other tribunal for any purpose whatsoever, except as
8    evidence of the settlement or to enforce the provisions of this Order and the Settlement
9    Agreement; provided, however, that this Order and the Settlement Agreement may be
10   filed in any action against or by Defendant or the Released Parties to support a defense
11   of res judicata, collateral estoppel, release, waiver, good-faith settlement, judgment bar
12   or reduction, full faith and credit, or any other theory of claim preclusion, issue
13   preclusion or similar defense or counterclaim.
14         13. The Court reserves exclusive and continuing jurisdiction over the lawsuit for
15   the   purposes    of   supervising   the   implementation,   enforcement,    construction,
16   administration, and interpretation of the Settlement Agreement and this Judgment.
17         14. This document shall constitute a judgment (and separate document
18   constituting said judgment) for purposes of Federal Rule of Civil Procedure 58.
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20         IT IS SO ORDERED.
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23   Dated: January 8, 2018
24                                   HONORABLE CHRISTINA A. SNYDER
                                     UNITED STATES DISTRICT COURT JUDGE
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                            [PROPOSED] ORDER APPROVING PAGA SETTLEMENT
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